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   REY MOBILE HOME ESTATES
 8
                             UNITED STATES DISTRICT COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                   District Court Case No. 22-cv-01462-RGK
11                                           [Bankruptcy Case No. 8:21-bk-11710-ES]
     JAMIE LYNN GALLIAN,
12                                           Chapter 7
                     Debtor.
13                                           STIPULATION TO DISMISS APPEAL
                                             WITHOUT PREJUDICE
14
                                             [Notice of Appeal filed in Bankruptcy Court on
15                                           July 28, 2022, as Dk. No. 161]
16                                                            [NO HEARING REQUIRED]
17

18 TO THE HONORABLE R. GARY KLAUSNER, UNITED STATES DISTRICT COURT JUDGE,

19 JAMIE LYNN GALLIAN, AND ALL INTERESTED PARTIES:

20            Appellee, HOUSER BROS. CO., a California limited partnership dba RANCHO DEL REY
21 MOBILE HOME ESTATES (“Houser Bros.”), together with Appellant and Debtor, Jamie Lynn

22 Gallian (“Ms. Gallian,” and together with Houser Bros., the “Parties”) enter into this stipulation

23 (“Stipulation”) to dismiss this appeal without prejudice.

24                                                  RECITALS
25            A.          On May 12, 2022, as Bankruptcy Court Dk. No. 95, Houser Bros. Co. dba Rancho
26 Del Rey Mobile Home Estates (“Houser Bros.”) filed a “Motion Objecting to Debtor’s Claimed

27 Homestead Exemption” (“Homestead Motion”).

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                                                          1
                                   STIPULATION TO DISMISS APPEAL (BK. DK. NO. 161)
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 1            B.          On June 1, 2022, as Bankruptcy Court Dk. No. 105, Debtor filed “Debtors Reply
 2 Opposition, Memorandum of Points and Authorities to Houser Bros. Co. dba Rancho Del Rey

 3 Mobile Home Estates’ Motion Objecting to Debtor’s Claimed Homestead Exemption and Joinder

 4 Parties Huntington Beach Gables HOA; Janine Jasso” (“Homestead Opposition”).

 5            C.          On July 21, 2022, at 10:30 a.m., the Bankruptcy Court held a continued hearing on
 6 the Motion. During the hearing, the Court orally granted the Homestead Motion for the reasons

 7 stated in its tentative ruling.

 8            D.          On July 28, 2022, as Dk. No. 161, Debtor filed a second “Notice of Appeal and
 9    Statement of Election” (“Second Notice of Appeal”) regarding a “Tentative Ruling 7/21/2022,
10    Updated 7/22/2022 5:46:01PM, Honorable Edithe [sic] A. Smith Sustaining Houser Bros co Dba
11    Ranch Del Rey Mobilehome Estates Objection to Debtor’s Claimed and Declared Homestead
12    Exemption on File Orange County Tax Assessor Effective February 25, 2021, Prior to the Petition
13    for Chapter 7 Petition.”
14            E.          On August 2, 2022, as Bankruptcy Court Dk. No. 168, Houser Bros. filed an Optional
15    Appellee Statement of Election to Proceed in U.S. District Court.
16            F.          On August 4, 2022, as Bankruptcy. Court Dk. No. 170, Houser Bros. filed a Response
17    to Debtor’s Motion for Reconsideration of 7-21-22 Order Sustaining Houser Bros. Co. dba Rancho
18    Del Rey Mobile Home Estates Objection to Debtor's Claimed Homestead Exemption (“Response”).
19            G.          On August 5, 2022, as Bankruptcy Court Dk. No. 177, the Court entered an order
20    granting the Homestead Motion (“Order”).
21            H.          On August 18, 2022, the Bankruptcy Court held a hearing on Debtor’s Motion for
22    Reconsideration. During the hearing, the parties agreed that Debtor’s Appeal would be dismissed
23    without prejudice so that the motion for reconsideration could be heard on the merits. The Court
24    continued the hearing to September 22, 2022.
25                                                    Stipulation
26            The Parties agree and STIPULATE as follows:
27            1.          Debtor’s Appeal shall be dismissed without prejudice;
28

                                                            2
                                   STIPULATION TO DISMISS APPEAL (BK. DK. NO. 161)
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1    1            2.          Debtor may file an appeal of the Order and/or any order on her Reconsideration
2    2 Motion in the Bankruptcy Court on or before the date that is 14 days after entry of the order on

3    3 the Reconsideration Motion pursuant to Rule 8002 of the Federal Rules of Bankruptcy Procedure;

4    4            3.          Each party shall bear its own attorneys’ fees and costs with respect to this appeal;
5    5 and

6    6            4.          This Stipulation may be executed in one or more counterparts and facsimile or
7    7 electronic signatures may be used when filing this document with the Court.

8    8

9    9 DATED: August 29, 2022                            MARSHACK HAYS LLP

1   10                                                       /s/ D. Edward Hays
                                                         By:
0   11                                                      D. EDWARD HAYS
                                                            Attorneys for Creditor,
1   12                                                      HOUSER BROS. CO. dba RANCHO DEL
                                                            REY MOBILE HOME ESTATES
1   13

1   14
                                                         By:
         DATED: August 29, 2022
2   15                                                      JAMIE LYNN GALLIAN
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                                        STIPULATION TO DISMISS APPEAL (BK. DK. NO. 161)
2        4886-1591-1427,v.1
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                           PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this District Court proceeding. My business address
is: 870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: STIPULATION TO DISMISS
APPEAL WITHOUT PREJUDICE will be served or was served (a) on the judge in chambers
in the form and manner required by L.R. 5-4 in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Pursuant to controlling General Orders and L.R 5-3.3, the foregoing document will be served by
the court via NEF and hyperlink to the document. On August 29, 2022, I checked the CM/ECF
docket for this case and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:
                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 29, 2022, I served the following
persons and/or entities at the last known addresses in this case by placing a true and correct
copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.
                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
TRANSMISSION OR EMAIL: Pursuant to F.R.Civ.P. 5 (d)(3) and/or controlling L.R. 5-4, on
August 29, 2022, I served the following persons and/or entities by personal delivery, overnight
mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours
after the document is filed.

                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

 August 29, 2022                 Layla Buchanan               /s/ Layla Buchanan
 Date                      Printed Name                       Signature




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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Robert P Goe
rgoe@goeforlaw.com,kmurphy@goeforlaw.com
2. SERVED BY UNITED STATES MAIL: CONTINUED:

Jamie Lynn Gallian
16222 Monterey Lane Unit 376
Huntington, CA 92649

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
TRANSMISSION OR EMAIL: CONTINUED:

VIA PERSONAL DELIVERY:
MANDATORY CHAMBERS COPY
4876-9175-8384, v. 1




146786v1/9999-403
